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Internal Revenue Service Department of the Treasury

Examiner:
Donna Meadors

Date: December 2, 2004 , ' Examiner's Employee Identification Number:
73-2558
Contact Telephone Number:
(918)581-7030x241
Mr. Lindsey K. Springer Fax Number:
5147 S. Harvard, Suite 116 (918)581-7094

Tulsa, OK 74106

Dear Mr. Springer

We have reviewed materials regarding your participation in tax avoidance transactions. Based on the
information provided, we are discontinuing the review at this time with respect to possible action under Internal
Revenue Code sections 6694, 6695, 6700, 6701, 7402, 7407 and 7408 as they relate to these transactions. This
letter should not be considered to mean that the Internal Revenue Service has approved the tax avoidance
transactions; rather, it is a notice that our action under the above code sections has been discontinued.

Our review of the transaction does not constitute an examination of your income tax returns. We may examine
your income tax returns for correct determination of any income tax liability.

Please contact me if you have any questions you would like to discuss.
Thank you for your cooperation.

Sincerely yours,

(new Wr00k cod

Letter 1866 (Rev. 4-2004)
Catalog Number 61481V

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